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               IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA, ex rel.       :
SARAH BEHNKE,                           :
                                        :   CIVIL ACTION NO.
                         Plaintiffs,    :   2:14-cv-00824-MSG
                                        :
                 v.                     :   [PROPOSED] SECOND
                                        :   AMENDED COMPLAINT
CVS CAREMARK CORPORATION,               :
 CAREMARK Rx, LLC (f/k/a CAREMARK       :   JURY TRIAL DEMANDED
Rx, INC.), CAREMARKPCS HEALTH LLC,      :
and CAREMARK PART D SERVICES, LLC,      :   FILED UNDER SEAL
                                        :
                         Defendants     :
                                        :
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I.     INTRODUCTION

       Qui Tam Plaintiff/Relator Sarah Behnke, through her counsel, Berger & Montague, P.C.

and Shepherd Finkelman Miller & Shah, LLP, on behalf of the United States of America, brings

her Complaint against Defendants CVS Caremark Corporation, Caremark Rx, LLC (f/k/a

Caremark Rx, Inc.), CaremarkPCS Health LLC, and Caremark Part D Services, LLC, and alleges

based upon her own direct and independent knowledge and investigation, except where

specifically stated upon information and belief:

      1.       This is an action to recover damages and civil penalties on behalf of the United

States of America, arising from false and/or fraudulent records, statements and claims made or

caused to be made or presented by CVS Caremark Corporation, Caremark Rx, LLC (f/k/a

Caremark Rx, Inc.), CaremarkPCS Health LLC and Caremark Part D Services, LLC (collectively

referred to as “Caremark” or “Defendants”) and/or their agents, predecessors, successors, and

employees in violation of the Federal False Claims Act, 31 U.S.C. § 3729 et seq., as amended (“the

FCA” or “the Act”)..      References in this complaint to Caremark include CVS Caremark

Corporation and its subsidiaries and affiliates to the extent they are involved in the conduct.

      2.       The Caremark defendants, in their capacity as a Pharmacy Benefits Manager

(“PBM”) for several Medicare Part D Sponsors, including their affiliate SilverScript Insurance Co.

(“SilverScript”), intentionally, systematically, and recklessly caused the submission of false or

fraudulent Medicare Part D actual drug costs, negotiated drug prices, and prescription drug event

(“PDE”) data to the Centers for Medicare and Medicaid Services (“CMS”) since 2010.

      3.       In addition to the false and fraudulent claims, prices and statements by or through

SilverScript, the Caremark defendants caused non-party Aetna, Inc. (or its affiliates) (hereafter

referred to as “Aetna”) to make or present false claims and statements to CMS. Pursuant to a
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multi-year contract, Caremark is the PBM for Aetna’s Medicare Part D business, as well as for

Aetna’s commercial lines of business.

      4.       As a direct result of Defendants’ fraudulent, improper and illegal practices, Federal

Government health insurance programs including, but not limited to, Medicare Part D, have been

caused and continue to:

                  a) pay increased subsidies to Aetna’s Medicare Part D Plans and the

                      SilverScript Medicare Part D Plans through direct advance monthly

                      payments; reinsurance subsidies; low-income cost-sharing subsidies (or

                      grants for low-income Part D individuals received in lieu of low-income

                      subsidies); risk-sharing arrangements; and year-end retroactive adjustments

                      and reconciliations; and

                  b) enter into contracts with the Defendants as providers of Part D services,

                      whether as a Sponsor or PBM, including agreements that are necessary for

                      Part D providers to submit claims or data to CMS and/or to receive

                      payments related to the Medicare Part D program.

      5.       As a direct and foreseeable result of the Defendants’ improper and fraudulent

practices, federal and state health insurance programs, including but not limited to, Medicare and

Medicaid, have been impacted by Defendants’ submission of false prices by virtue of the states’

contributions to low-income cost subsidies.

      6.       Plaintiff seeks to recover damages and penalties on behalf of the United States

arising from Defendants’ making or causing to be made false or fraudulent records, statements

and/or claims in connection with their knowing violations of the Medicare Part D Program

reporting, reconciliation and claims submissions requirements.



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II.    THE PARTIES

       A.      Relator/Plaintiff

      7.       Plaintiff/Relator Sarah Behnke is a resident of the State of Kentucky and a citizen

of the United States.

      8.       Relator Behnke is a graduate of the University of California at Berkeley, with a

B.A. in applied mathematics. She is a Fellow of the Society of Actuaries (FSA), a professional

designation that is achieved only after the successful completion of more than ten rigorous

examinations. Ms. Behnke is also a member of the American Academy of Actuaries (MAAA).

Ms. Behnke has worked for three major Part D plan sponsors, including Humana, in the area of

Medicare Part D Plan pricing and reimbursement since the program became effective in 2006. At

the time of filing this action, she was the Senior Actuary/Head Actuary Medicare Part D for Aetna,

Inc. Relator has extensive experience with drug pricing for Part D Plans, analysis of pharmacy

data, risk sharing agreements, Direct and Indirect Remuneration Reporting (“DIR”) and Part D

regulations relating to low income subsidies, risk sharing, reinsurance and Part D bids. She is

uniquely qualified to bring this action on behalf of the United States.

       B.      Defendants

               1.       Defendant CVS Caremark Corporation

      9.       Defendant CVS Caremark Corporation (hereafter “CVS Caremark”) is

incorporated under the laws of the State of Delaware, and headquartered at One CVS Drive,

Woonsocket, Rhode Island 02895.

      10.      CVS Caremark Rx, LLC is a subsidiary of CVS Caremark

      11.      CVS Caremark has reported to the public that since at least 2007, it and its

subsidiaries have been the largest provider of prescription and related healthcare services in the

United States, having filled or managed more than one billion prescriptions since that time.

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      12.      In its pharmacy services business, CVS Caremark offers a full range of pharmacy

benefit management (“PBM”) services. The PBM business generates revenues for CVS Caremark

from the performance of services for which it receives certain fees. These PBM services include

mail order pharmacy services, specialty pharmacy services, plan design, administration, pharmacy

network contracting, and claims processing. At the time of filing, CVS Caremark had 26% of the

PBM market in the United States and the CVS Caremark PBM business served approximately

3,150,000 Medicare members.

               2.      CVS Caremark Entities Participating in Medicare Part D
                       Program

      13.      Currently, CVS Caremark participates in the Medicare Part D prescription drug

program in several significant ways. Since 2006, CVS Caremark has provided Part D PBM

services to CVS Caremark’s clients’ Part D programs through several subsidiaries including:

Caremark LLC; CaremarkPCS Health, LLC; CVS Caremark Part D Services, LLC; and Caremark

RxAmerica, LLC.

      14.      Since 2006, subsidiaries or affiliates of CVS Caremark have served as Medicare

Prescription Drug Plan (“PDP”) Sponsor that contracts with Medicare to provide prescription drug

benefits in all 50 states, the District of Columbia, and Puerto Rico.

      15.      The Defendants participate in the Federal Government’s Medicare Part D Program

as pharmacy benefit managers (PBM). CVS Caremark’s net revenue includes both Part D

Payments received from CMS as well as payments received from Part D Sponsors related to CVS

Caremark’s subsidiaries’ Part D PBM Services.

      16.      In addition, subsidiaries of CVS Caremark operates thousands of retail pharmacies

under the names CVS or Longs Drug Store, as well as mail order and specialty pharmacies that




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process Part D prescriptions and dispense Part D drugs to Medicare beneficiaries, including to

beneficiaries enrolled in Aetna’s and Caremark’s own Part D programs.

      17.       SilverScript Insurance Company (“SilverScript”), is a corporation organized under

the laws of Tennessee. It is a subsidiary of CVS Caremark.

      18.       SilverScript is a Medicare Part D Sponsor that since 2006 has contracted with

Medicare and has provided Medicare Part D benefits under prescription drug plans in all 50 states,

the District of Columbia, and Puerto Rico.

               3.      Defendant CVS Caremark’s PBM Subsidiaries

      19.      Defendant Caremark Rx, LLC (f/k/a Caremark Rx, Inc.) (hereafter “Caremark Rx”)

is one of the largest pharmaceutical services companies in the United States. It is incorporated

under the laws of the State of Delaware, with its principal executive offices located in Woonsocket,

Rhode Island. Caremark Rx is the parent of CVS Caremark’s pharmacy services subsidiaries that

provide pharmacy benefit management services.

      20.      Caremark Rx’s pharmaceutical services are referred to as pharmacy benefit

management services, and include the provision of drug benefits to eligible beneficiaries under the

Federal Government’s Medicare Part D Program.

      21.      CaremarkPCSHealth LLC (“CaremarkPCS Health”) is a subsidiary of Caremark

Rx. CaremarkPCS Health is a PBM (pharmacy benefit manager) and provides PBM services to

its clients that have qualified as Medicare Part D Prescription Drug Plans, including Aetna.

      22.      Defendant Caremark Part D Services, LLC is a CVS Caremark subsidiary that

provides PBM services to SilverScript, among other Part D Plans.

      23.      CVS Caremark participates in the administration of the Medicare Part D Drug

Benefit through Caremark Rx. Caremark Rx’s PBM services are provided to its health plan clients

and other clients that have qualified as PDPs.
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       24.     Prescriptions managed by the Caremark defendants for Part D plan sponsors,

whether filled at one of CVS Caremark’s own mail service pharmacies or through its retail

pharmacy network, are processed and documented by the Caremark defendants.

III.    JURISDICTION AND VENUE

       25.     This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. § 1331, 28 U.S.C. § 1367, and 31 U.S.C. § 3732.

       26.     This Court has personal jurisdiction and venue over Defendants pursuant to

28 U.S.C. § 1391(b) and U.S.C. § 3732(a) because that section authorizes nationwide service of

process and because the Defendants have minimum contacts with the United States. Moreover,

the Defendants can be found in, and reside and transact business in, this District.

       27.     Venue is also proper in this District pursuant to U.S.C. § 3731(a) because CVS

Caremark Corporation, Caremark Rx, LLC (f/k/a Caremark Rx, Inc.), CaremarkPCS Health LLC,

and Caremark Part D Services, LLC can be found in, and conduct business in this District.

IV.     THE MEDICARE PART D PROGRAM

        A.     Prescription Drug Coverage

       28.     The Medicare Part D Program provides beneficiaries with assistance in paying for

outpatient prescription drugs. The outpatient prescription drug benefit was added to Medicare by

the Medicare Prescription Drug, Improvement, and Modernization Act of 2003 (“MMA”),

Pub. L. 108-173 (Dec. 8, 2003), 42 U.S.C. § 1395w-101 et seq. (2004 supplement), 42 C.F.R.

§ 423.506.

       29.     An individual is eligible to enroll in part D if he or she is entitled to Medicare

benefits under Part A or enrolled under Part B, 42 U.S.C. § 1395w-101(a)(3)(A); 42 C.F.R.

§ 423.30(a).



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       B.      Operation of the Medicare Part D System

               1.     Part D Plan Sponsor

      30.      Unlike coverage in Medicare Parts A and B, Part D coverage is not provided within

the traditional Medicare program. Instead, the MMA established Part D as a voluntary, private-

market-based program that was based on private plans providing coverage and bearing some of

the financial risk for drug costs. Medicare beneficiaries must affirmatively enroll in one of the

many hundreds of Part D Plans offered by private companies. See MMA, Sections 1102, 1860D-

1 through 1860D-42, and 1871 of the Social Security Act; 42 U.S.C. §§ 1302, 1395w-101 through

1395w-152, and 1395hh.

      31.      Part D benefits are provided by either a Part D Plan Sponsor, a Medicare Advantage

organization that offers a Medicare Advantage-Part D plan, a PACE organization offering a PACE

plan including qualified drug coverage or a cost plan offering qualified prescription drug coverage

that has entered into a contract with Medicare. Part D Plan Sponsors offer a prescription drug plan

(“PDP”). 42 C.F.R. § 423.4. References in this Complaint to “Part D business” include all of

these types of plans or coverages.

      32.      “Prescription drug plan” or “PDP” means “prescription drug coverage that is

offered under a policy, contract, or plan that has been approved as specified in [42 C.F.R.]

§ 423.272 and that is offered by a PDP sponsor that has a contract with CMS that meets the contract

requirements under subpart K of [Part 423].” 42 C.F.R. § 423.4.

      33.      Aetna Life Insurance Company, at the time of filing, was a Part D Plan Sponsor

that offers Part D plans through various affiliates, including Aetna Health Management LLC. A

Part D Plan Sponsor agrees to comply with the requirements and standards of Part D and all the

terms and conditions of payment. Section 1860D-12, 42 U.S.C. § 423.503(b). Aetna as the Part D



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Plan Sponsor also expressly agrees to provide CMS with the information CMS determines is

necessary to carry out payment provisions. 42 C.F.R. § 423.505(b)(8) and (9).

      34.      A Part D Plan Sponsor, in contracting with CMS, also expressly “agrees to comply

with Federal laws and regulations designed to prevent fraud, waste, and abuse, including but not

limited to, applicable provisions of Federal criminal law [and] the False Claims Act (31 U.S.C.

§§ 3729 et seq.).” 42 C.F.R. § 423.505(h)(1).

      35.      In order to receive Part D funds from CMS, Part D Sponsors, their authorized

agents, employees and contractors are required to comply with all applicable Federal laws and

regulations, as well as CMS instructions. 42 U.S.C. § 1860D-12(b)(1); 42 C.F.R. § 505(i)(4)(v).

      36.      To qualify for Part D payments from CMS, before each plan year, a Part D Sponsor

must submit a bid, certified by an actuary, for each Part D Plan it will offer. 42 C.F.R. § 423.265.

The bid contains a per member per month (“PMPM”) cost estimate to provide Part D benefits to

an average Medicare beneficiary in a particular geographic area. From those Part D Plan bids,

CMS calculates nationwide and regional benchmarks that represent an average PMPM cost. The

bid is used to set the premium for a Part D Plan. If the Part D Plan Sponsor’s bid exceeds the

benchmark, the Plan Member must pay the difference.

      37.      Each Part D sponsor receives a direct subsidy from CMS in the form of advance

monthly payments equal to the Part D plan’s standardized bid, which is risk-adjusted for health

status, minus the monthly beneficiary premium, estimated reinsurance subsidies for catastrophic

coverage, and estimated low-income subsidies. 42 C.F.R. §§ 423.315, 423.329.

      38.      In the year following each benefit year, CMS reconciles a PDP Sponsor’s actual

prescription drug costs as derived from its PDE records against the Sponsor’s bid.




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      39.      If a PDP Sponsor’s actual costs exceed the estimated costs, it may be able to recoup

some of its losses through a risk-sharing arrangement with CMS. Conversely, if a Part D Plan

Sponsor’s estimated costs exceed its actual costs, the Sponsor may have to pay back some of its

estimated payments to CMS.

      40.      Sections 1860D-15(c)(1)(C) and (d)(2) of the MMA require Sponsors to submit

data and information necessary for CMS to carry out payment provisions. For every prescription

filled, the Sponsor prepares and submits a Prescription Drug Event (PDE) record to CMS

(described in detail in section IV.B.5).

      41.      Accordingly, all contracts between Part D Sponsors and CMS contain the following

term: the Part D Sponsor must agree to “provide CMS with the information CMS determines is

necessary to carry out payment provisions in subpart G of this Part.” 42 C.F.R. § 423.505(b)(9).

      42.      The PDE record contains prescription drug cost and payment data that enables CMS

to make payments to PDPs and otherwise administer the Part D benefit.

      43.      The Part D Sponsor is required to make several significant and material express

certifications to CMS regarding its submission of Part D data used for payment, as described below

(section IV.B.6).

               2.      Part D Process – Adjudicating Claims for Beneficiaries

      44.      Most Medicare beneficiaries who elect Part D coverage are responsible for certain

costs, which may include a monthly premium, an annual deductible, and/or co-pays. Once a

beneficiary’s drug costs have reached a designated threshold, the beneficiary pays the entire drug

cost until a higher, catastrophic level amount is reached, at which point CMS picks up the bulk of

the payments. The phase in which the beneficiary pays his or her own costs is referred to as the

coverage gap or, more colloquially, the donut hole.



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       45.      After receiving a prescription from his or her doctor, a Plan beneficiary must get

the prescription filled, often by going to a retail pharmacy and presenting the prescription to the

pharmacist (or by submitting a prescription to a mail order pharmacy).

       46.      The pharmacy receives the prescription and participant’s information, and then

submits required data elements to the Plan Sponsor or its Pharmacy Benefits Manager1 to confirm

Medicare Part D enrollment and identify co-pays. This typically takes place via real-time data

transmissions between the pharmacy and the PBM.

       47.      If the claim for the prescription is not rejected, the pharmacy receives payment

authorization and co-pay information and dispenses the prescription to the Part D beneficiary. The

beneficiary pays the co-pay to the pharmacy and receives the prescription. At the time of the initial

data submission, the pharmacy transmits certain data elements specified by contract between the

pharmacy and the PBM. These data elements include, among other things, the beneficiary

information and drug information.

       48.      Once the PBM receives that data from the pharmacy, it submits the claim data to

CMS, either directly or through the Plan Sponsor, via a Prescription Drug Event (“PDE”) record

that includes the drug price.

       49.      The Plan Sponsor is required to also submit other data to CMS, i.e., bid submission

data, costs for risk corridor and reinsurance information, and data for price comparison. See, e.g.,

CMS Updated Instructions: Requirements for Submitting Prescription Drug Event Data (PDE),

http://www.cms.hhs.gov/DrugCoverageClaimsData/RxDrugEventDataGuidance.asp#TopOfPage,

April 27, 2006, 42 C.F.R. § 423.505(k).




1
    References hereafter will assume that the Plan Sponsor utilizes a PBM.
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      50.      Part D Sponsors are also required to submit other information to CMS regarding

costs of providing Part D coverage, i.e., administrative costs, rebates, and other information.

               3.      CMS Part D Payments

      51.      During each benefit year, CMS pays a PDP Sponsor, such as Aetna, estimated

payments, in advance, on a monthly basis. These direct subsidy payments are equal to Aetna’s

standardized bid adjusted for health status minus the monthly beneficiary premium, estimated

reinsurance subsidies for catastrophic coverage, and estimated low income subsidies. 42 C.F.R.

§§ 423.315, 423.329.

      52.      CMS’s payments of premiums and cost sharing subsidies on behalf of certain low

income individuals eligible for subsidies as provided for in 42 C.F.R. § 423.780 and § 423.782 are

called “Low Income Cost Sharing Subsidies” (or “LICS”).

      53.      CMS’s payment for the Government’s share of drug costs for beneficiaries who

have reached catastrophic coverage is called the reinsurance subsidy.

      54.      As an express condition of payment by CMS, 42 U.S.C. § 1395w-115d(2)(A),

Subsidies for Part D Eligible Individuals for Qualified Prescription Drug Coverage, provides that

payments to a PDP sponsor are conditioned upon the furnishing, in a form and manner specified

by the Secretary of the Department of Health and Human Services, any such information as may

be required to carry out the provisions of that section, including those for the calculation of

reinsurance and risk sharing. See also, DIR Reporting Requirements.

      55.      Thus, CMS payments to a Part D Sponsor are expressly conditioned upon the

Sponsor providing “information to CMS that is necessary to carry out this subpart, or as required

by law.” 42 C.F.R. § 423.322(a).

      56.      Beginning in at least 2010, among other things, PDP Sponsors were required to

report to CMS the aggregate amount and type of rebates, discounts, or price concessions, excluding
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bona fide service fees that the PBM negotiates that are attributable to patient utilization, and the

aggregate amount of the rebates, discounts or price concessions that are passed through to the Plan

Sponsor, and the aggregate amount of the difference between the amount the health benefits plan

pays to the PBM and the amount the PBM pays retail pharmacies, 42 U.S.C. Sec 1320b-23(b).

               4.      CMS’s Payments are Required to be based on the Actual Cost
                       of a Drug, Meaning the Drug Price Ultimately Received by the
                       Pharmacy

      57.      Negotiated prices are the payment amounts pharmacies receive from Part D Plan

Sponsors (directly or indirectly through a PBM) for covered Part D drugs dispensed to plan

enrollees. CMS’ payments to Part D Plans are based on the reporting of “negotiated prices”

(through PDE reporting) that are actually paid and are then offset by any other price concessions

(which are reported in the aggregate through the separate annual DIR reporting process).

      58.      CMS’ regulations dictate how to report the total cost of a drug on the PDE record.

For a covered drug, this cost is referred to as “gross covered drug cost.” On the PDE record, there

are detail cost fields and summary cost fields that report the gross drug cost. These fields

distinguish the cost of the drug itself from any dispensing fee or applicable sales tax and they

identify     drug      costs      that     are        eligible   for     reinsurance      payment.

http://www.csscoperations.com/internet/Cssc.nsf/files/PDEParticipantGuide%20cameraready%2

0081811.pdf/$FIle/PDEParticipantGuide%20cameraready%20081811.pdf

      59.      Under 42 CFR § 423.308, “‘Gross covered prescription drug costs’ mean those

actually paid costs incurred under a Part D plan, excluding administrative costs, but including

dispensing fees, during the coverage year.” They [include] the following: (1) The share of actual

costs (as defined by § 423.100 of this part).

      60.      Under 42 C.F.R. § 423.100, “actual cost” is defined in relevant part as the

negotiated price for a Part D drug when the drug is purchased at a network pharmacy.
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      61.      Effective for plan year 2010, the definition of negotiated price for covered Part D

drugs means prices “that the Part D Sponsor (or other intermediary contracting organization) and

the network dispensing pharmacy or other network dispensing provider have negotiated as the

amount such network entity [pharmacy] will receive, in total, for a particular drug.” 42 C.F.R.

§ 423.100.

      62.      Prior to 2010, the definition of negotiated prices had been “prices for covered

Part D drugs that are available to beneficiaries at the point of sale at network pharmacies.” Because

this allowed PDPs or PBMs to include in their reported prices the difference between what a PBM

paid a pharmacy for a particular drug and the higher amount paid by a Plan Sponsor to the PBM

under “lock-in price” contracts,2 the definition was changed in 2009, effective January 1, 2010.

CMS required that the difference in price between what a PBM paid the pharmacy and what the

Plan Sponsor paid the PBM be considered and excluded as an administrative expense, not a

component of drug ingredient cost. 74 Federal Register 1494 at 1505 (Jan. 12, 2009). PBMs could

still have lock-in price contracts with Plan Sponsors, but the actual pass-through drug prices had

to be reported to CMS. Id. at 1508.

      63.      It was the intention of Congress to exclude risk sharing on administrative expenses.

As noted by CMS when the definition of negotiated price in 42 C.F.R. § 423.100 was amended,

Part D Sponsors are required to report to CMS “the price ultimately received by the pharmacy or

other dispensing provider, also known as the pass-through price.” The negotiated or pass through

price does “not include any of the administrative fees paid by Part D sponsors to their intermediary

contracting organization” or PBM. 74 Fed. Reg. 1494 at 1505 (Jan. 12, 2009).



2
  CMS-4131-FC: The lock-in pricing approach is a contract method by which the Sponsor agrees
to pay the PBM a set rate for a particular drug and the PBM negotiates with pharmacies to achieve
the best possible price, which may vary from the rate paid to the PBM.
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      64.      As described above, CMS pays Plans for Part D benefits through subsidies and risk

sharing, including the “Low-Income Cost Sharing Subsidies” and catastrophic reinsurance

payments. These CMS payments are documented and reconciled using PDE data submitted to

CMS. CMS “Updated Instructions: Requirements for Submitting Prescription Drug Event Data

(PDE),” 4.27.2006, page 41, Section 10.1.

      65.      CMS is required by statute to calculate the reinsurance and risk-sharing payments,

“allowable reinsurance costs” and “allowable risk corridor costs,” on the basis of costs which have

been “actually paid,” CMS Final Medicare Part D DIR Reporting Requirement for 2012 at p. 5

(June 7, 2013) (“DIR Reporting”).

      66.      “Actually paid” is defined as:

            Actually paid means that the costs must be actually incurred by the Part D
            sponsor and must be net of any direct or indirect remuneration (including
            discounts, charge backs or rebates, cash discounts, free goods contingent on
            a purchase agreement, up-front payments, coupons, goods in kind, free or
            reduced-price services, grants, or other price concessions or similar benefits
            offered to some or all purchasers) from any source (including
            manufacturers, pharmacies, enrollees, or any other person) that would serve
            to decrease the costs incurred under the Part D plan. Direct and indirect
            remuneration includes discounts, chargebacks or rebates, cash discounts,
            free goods contingent on a purchase agreement, up-front payments,
            coupons, goods in kind, free or reduced-price services, grants, or other price
            concessions or similar benefits from manufacturers, pharmacies or similar
            entities obtained by an intermediary contracting organization with which
            the Part D plan sponsor has contracted, regardless of whether the
            intermediary contracting organization retains all or a portion of the direct
            and indirect remuneration or passes the entire direct and indirect
            remuneration to the Part D plan sponsor and regardless of the terms of the
            contract between the plan sponsor and the intermediary contracting
            organization.

42 C.F.R. § 423.308.

      67.      “Allowable reinsurance costs” are defined as:

            Allowable reinsurance costs means the subset of gross covered prescription
            drug costs actually paid that are attributable to basic prescription drug
            coverage for covered Part D drugs only and that are actually paid by the
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            Part D sponsor or by (or on behalf of) an enrollee under the Part D plan.
            The costs for any Part D plan offering enhanced alternative coverage must
            be adjusted not only to exclude any costs attributable to benefits beyond
            basic prescription drug coverage, but also to exclude any costs determined
            to be attributable to increased utilization over the standard prescription drug
            coverage as the result of the insurance effect of enhanced alternative
            coverage in accordance with CMS guidelines on actuarial valuation.

42 C.F.R. § 423.308.

      68.      “Allowable risk corridor costs” means:

            (1) The subset of costs incurred under a Part D plan (not including
            administrative costs, but including dispensing fees) that are attributable to
            basic prescription drug coverage only and that are incurred and actually paid
            by the Part D sponsor to —

            (i) A dispensing pharmacy or other dispensing provider (whether directly or
            through an intermediary contracting organization) under the Part D plan;

            (ii) The parties listed in § 423.464(f)(1) of this part with which the Part D
            sponsor must coordinate benefits, including other Part D plans, as the result
            of any reconciliation process developed by CMS under § 423.464 of this
            part; or

            (iii) An enrollee (or third party paying on behalf of the enrollee) to
            indemnify the enrollee when the reimbursement is associated with obtaining
            drugs under the Part D plan; and

            (2) These costs must be based upon imposition of the maximum amount of
            copayments permitted under § 423.782 of this part. The costs for any Part D
            plan offering enhanced alternative coverage must be adjusted not only to
            exclude any costs attributable to benefits beyond basic prescription drug
            coverage, but also to exclude any prescription drug coverage costs
            determined to be attributable to increased utilization over standard
            prescription drug coverage as the result of the insurance effect of enhanced
            alternative coverage in accordance with CMS guidelines on actuarial
            valuation.

42 C.F.R. § 423.308.

      69.      Pursuant to 42 C.F.R. § 423.343, after the close of the plan year, CMS is

responsible for reconciling the prospective payments to the Part D Sponsor’s actual allowable costs

to calculate final payments and risk sharing amounts. CMS determines the Plan’s actual allowable


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costs by relying upon certain data elements submitted by Sponsors in their PDE records. In other

words, CMS reconciles payments received by a Part D Plans at the end of the year to determine

whether additional funds are due to or from the Part D Plan Sponsor. A Part D Sponsor may also

receive other payments from CMS resulting from year end reconciliations and adjustments.

     70.       CMS specifically relies upon and uses the following Prescription Drug Event

(“PDE”) cost and payment fields in its year-end reconciliation: gross drug cost above out-of-

pocket threshold, gross drug cost below out-of-pocket threshold, low-income cost-sharing subsidy,

and covered Part D Plan paid amount. As detailed above, the gross drug cost components are

based on the negotiated prices, or pass-through prices, that are required to be reported to CMS on

the PDE.

               5.     Price Reporting to CMS as a Condition of Payment

     71.       On April 27, 2006, CMS issued “Updated Instructions:            Requirements for

Submitting Prescription Drug Event Data (PDE)”, in which CMS identified a set of data elements,

PDE data, which are identified as conditions of payment and which are necessary to determine

payments to Medicare Part D PDP Sponsors. The Part D Plan must submit a record for each and

every dispensing event. “Updated Instructions: Requirements for Submitting Prescription Drug

Event Data (PDE),” 4.27.2006, pages 5 and 9.

     72.       The PDE record is a summary record that documents the final adjudication of a

dispensing event by a PBM, based upon claims received from pharmacies. “Updated Instructions:

Requirements for Submitting Prescription Drug Event Data (PDE),” 4.27.2006, page 9.

     73.       When CMS identified “Data Elements for PDE Records,” it clearly stated, and all

parties were on notice, that submission of PDE data is an express condition of payment: “In this

section, we list the required data elements that must be submitted on PDE records for payment …



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This Section defines each data element and its specific potential use for CMS’s payment process.”

CMS “Updated Instructions: Requirements for Submitting Prescription Drug Event Data (PDE),”

4.27.2006, page 11, Sec. 2.

     74.       CMS further described the purpose of the various PDE data elements as follows:

“Much of the data, especially in dollar fields, will be used primarily for payment.” CMS “Updated

Instructions: Requirements for Submitting Prescription Drug Event Data (PDE),” 4.27.2006,

pages 5-6, Section 1.4.

     75.       CMS provided that the reporting “requirements apply to all Part D Plans.”

“Updated Instructions: Requirements for Submitting Prescription Drug Event Data (PDE),”

4.27.2006, page 5. Thus, CMS data reporting requirements and instructions apply to all Part D

Plans (PDPs), Medicare Advantage Part D Plans (MA-PDs), and any other entity providing Part

D benefits.

     76.       When Part D Sponsors or their PBMs report PDE data to CMS, these data elements

include the costs associated with each dispensing event. CMS uses these PDE data elements, in

part, to determine the capitated payments (monthly subsidy) paid for each Medicare Part D

beneficiary. The Part D Sponsor or PBM is required to submit the cost of the drug actually

dispensed to the Part D beneficiary.

     77.       CMS requires accurate reporting by the Part D Sponsor or PBM of the following

three data elements from PDE records to determine costs that qualify for payment under the

Medicare benefit: Field 27 (Ingredient Cost Paid), the amount paid to the pharmacy for the drug

itself, not including dispensing fees or other costs; Field 30 (Gross Drug Cost Below-Out-of-

Pocket Threshold); Field 31 (Gross Drug Cost Above Out-Of-Pocket Threshold). “Updated




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Instructions: Requirements for Submitting Prescription Drug Event Data (PDE),” 4.27.2006,

pages 14-15.

        78.    Part D Sponsors are required to make PDE data submissions to CMS at the end of

the coverage year (or no later than five months after the close of the year) including PDE records,

adjustments and deletions. See 42 C.F.R. § 423.308. Part D Sponsors also submit cost reports at

the end of the year. 42 C.F.R. § 423.343.

               6.      Certifications Made by Part D Sponsors

        79.    Sponsors and their subcontractors, when submitting Part D PDE data to CMS, must

certify that all claims are true and accurate. CMS “Prescription Drug Benefit Manual, Chapter 9

-- Part D Program to Control Fraud, Waste, and Abuse,” Section 80.1, p. 67, citing 42 C.F.R.

§ 423.505(k)(3).

        80.    Thus, CMS’s Regulations for the submission of Part D PDE data place the legal

risk of submitting invalid Part D claims data squarely with the submitting or generating entity:

“CMS requires that any entity that generates [Part D] claims data on behalf of a Sponsor” must

both:     “certify to CMS the accuracy, completeness, and truthfulness of that data;” and

“acknowledge that the data will be used for purposes of obtaining Federal reimbursement.” See

CMS “Prescription Drug Benefit Manual, Chapter 9 -- Part D Program to Control Fraud, Waste,

and Abuse,” page 16, Section 40-2, citing 42 C.F.R. § 423.505(k)(3).

        81.    In keeping with the requirements of 42 C.F.R. § 423.505(k)(3) and CMS

“Prescription Drug Benefit Manual, Chapter 9 -- Part D Program to Control Fraud, Waste, and

Abuse,” Section 80.1, p. 67, Sponsors and their subcontractors who submit Part D PDE data to

CMS must certify that it is true and accurate.

        82.    Since January 2006, this express certification of Part D PDE data has been included

in CMS’s Electronic Data Interchange Agreement (“EDI Agreement”) or a similar document. The
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EDI Agreement must be executed in order for an eligible organization to submit PDE data

electronically to CMS. The Caremark defendants, as Part D PBMs who submit PDE data on behalf

of Part D Sponsors, have executed an EDI Agreement with CMS. The certification on the Part D

EDI Agreement contains the following (or similar) language:

           By signing below, the eligible organization certifies that each submission
           of PDE data pursuant to this Agreement will be accurate and complete to
           the eligible organization’s best knowledge, information and belief.

     83.      Additional certifications submitted by the Part D Sponsor include the following:

              a) Certification of Data that Determines Payment:

           As a condition for receiving a monthly payment ... the Part D Plan sponsor
           agrees that its chief executive officer (CEO), chief financial officer (CFO), or
           an individual delegated the authority to sign on behalf of one of these officers,
           and who reports directly to the officer, must request payment under the contract
           on a document that certifies (based on best knowledge, information, and belief)
           the accuracy, completeness, and truthfulness of all data related to payment. The
           data may include specified enrollment information, claims data, bid submission
           data, and other data that CMS specifies.

42 C.F.R. § 423.505(k)(1).

              b) Part D Sponsor Certification of Claims Data:

           The CEO, CFO, or an individual delegated with the authority to sign on behalf
           of one of these officers, and who reports directly to the officer, must certify
           (based on best knowledge, information, and belief) that the claims data it
           submits under § 423.329(b)(3) (or for fallback entities, under § 423.871(f)) are
           accurate, complete, and truthful and acknowledge that the claims data will be
           used for the purpose of obtaining Federal reimbursement.

42 C.F.R. § 423.505(k)(3).

              c) Certification of Bid Submission Information.

           The CEO, CFO, or an individual delegated the authority to sign on behalf of
           one of these officers, and who reports directly to the officer, must certify (based
           on best knowledge, information, and belief) that the information in its bid
           submission and assumptions related to projected reinsurance and low income
           cost sharing subsidies is accurate, complete, and truthful and fully conforms to
           the requirements in § 423.265.


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42 C.F.R. § 423.505(k)(4).

               d) Certification of allowable costs for risk corridor and reinsurance information.

           The Chief Executive Officer, Chief Financial Officer, or an individual
           delegated the authority to sign on behalf of one of these officers, and who
           reports directly to the officer, must certify (based on best knowledge,
           information, and belief) that the information provided for purposes of
           supporting allowable costs as defined in § 423.308 of this part, including data
           submitted to CMS regarding direct or indirect remuneration (DIR) that serves
           to reduce the costs incurred by the Part D sponsor for Part D drugs, is accurate,
           complete, and truthful and fully conforms to the requirements in § 423.336 and
           § 423.343 of this part and acknowledge that this information will be used for
           the purposes of obtaining Federal reimbursement.

42 C.F.R. § 423.505(k)(5).

     84.       Particularly relevant here, “If the claims data are generated by a . . . contractor, or

subcontractor of a Part D Plan Sponsor, [specifically including a PBM] the contractor or

subcontractor must similarly certify (based on best knowledge, information and belief) the

accuracy, completeness, and truthfulness of the data and acknowledge that the claims data will be

used for the purpose of obtaining Federal reimbursement.” 42 C. F. R. Sec. 423.505(k)(3)

     85.       CMS recognizes that the submission of “inaccurate or incomplete prescription drug

event (PDE) data” constitutes Part D fraud, waste, or abuse. CMS “Prescription Drug Benefit

Manual, Chapter 9 -- Part D Program to Control Fraud, Waste, and Abuse,” p. 56.

     86.       As described below, the Caremark Defendants, in their contract with Aetna, agreed

to comply with all applicable law, regulations, and CMS instructions, and acknowledged that

claims data and information provide in connection with the contract “are used for the purpose of

obtaining federal funds.”

     87.       Contrary to the requirements of 42 C.F.R. § 423.505(k)(3), the Caremark

defendants, as a subcontractor, have provided or caused to be provided to the government false




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and fraudulent certifications of data accuracy, completeness and truthfulness and acknowledgment

that the claims data will be used for the purpose of obtaining federal reimbursement.

V.     CVS CAREMARK BOTH REPORTED AND CAUSED THE REPORTING OF
       FALSE AND INFLATED NEGOTIATED PRICES TO CMS

       A.      Caremark’s Failure to Provide True Negotiated Price Data to Aetna

      88.      Aetna, at the time of filing, was a Part D Plan Sponsor that had a contract with

CMS. Aetna has approximately 750,000 beneficiaries in its Part D Plans and was Caremark’s

largest unrelated client for PBM services.

      89.      Aetna Health Management L.L.C., an affiliate of Aetna, entered into a 12-year

PBM contract, dated as of July 27, 2010, whereby CaremarkPCS Health L.L.C., Caremark RX

L.L.C. and CVS Caremark, agreed to perform certain services for Aetna in connection with

Aetna’s Part D plan offerings beginning January 1, 2011. Among the services provided by

Caremark PSCHealth and Caremark Rx are creating, contracting with, maintaining and

administering a network of pharmacies who agree to dispense prescriptions to Aetna Part D

beneficiaries, and the negotiation, on behalf of Aetna, of the prices to be paid to the pharmacies

for each drug dispensed to an Aetna beneficiary. The Caremark defendants agreed to negotiate

the prices with the pharmacies on a pass-through basis, subject to overall rate guarantees. The

Caremark defendants further agreed to accurately adjudicate and process for payment claims

received on behalf of Aetna Part D plan beneficiaries.

      90.      CVS Caremark, CaremarkPCS Health and Caremark Rx also agreed to provide

drug cost data, including the price paid to the pharmacy for each claim of Aetna Part D

beneficiaries (the negotiated price), as required to be submitted to CMS in accordance with

42 C.F.R. § 423.505(b)(8) and (9) and 42 C.F.R. § 423.329(b)(3)(i). The required information is

in the set of data known as a Prescription Drug Event (“PDE”), as described above.


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      91.      The prices paid to the pharmacy, the negotiated prices under 42 C.F.R. § 423.100,

are also used for other purposes. “Beneficiary cost sharing is a function of the negotiated price,

either directly as in coinsurance percentages of the negotiated price, or indirectly, as copayments

which are ultimately tied to actuarial equivalence requirements based on negotiated prices.”

74 Fed. Reg. 1490 at 1505.      In other words, the higher the negotiated price, the higher a

beneficiary’s out-of-of pocket costs.

      92.      For purpose of claims adjudication, CaremarkPCS Health provided prices for each

claim dispensed to Aetna beneficiaries that CaremarkPCS Health certified were the actual

negotiated prices. Aetna included these prices in the PDEs it submitted to CMS for the purpose

of getting reimbursed by CMS. The Caremark defendants oversee the creation of the PDE files

and review and approve the submission of the PDE files to CMS.

      93.      Throughout the period from 2011 to the present, the Caremark defendants have

reported inaccurate negotiated prices for purposes of reporting to CMS, rendering all claims for

payment based on those prices false claims.

      94.      Under its contract with Aetna, CaremarkPCS Health set a price known as a MAC

price for multi-source generic drugs Aetna provides to beneficiaries under its Part D plans. The

MAC price is the price Aetna agrees to pay for a prescription for a particular drug. The MAC

price is also the price a beneficiary is told is the charge for each specific drug and is the price

charged by the pharmacy for the drug when a beneficiary goes to the pharmacy to fill the

prescription. This is the price the Caremark defendants reported or caused to be reported as the

drug cost on the PDE.




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         95.        Under the contract, CaremarkPCS Health had the ability to change MAC prices.

  CVS PCSHealth and the Caremark defendants frequently changed the MAC prices throughout the

  plan year.

         96.        The Aetna and Caremark contract also contains the following confidential

  provision, referred to in the industry as a “retail discount guarantee”:

         MAC and Non-MAC Combined Retail Discount Guarantees for Qualifying Generic Prescriptions at Retail

Days
           2011      2012     2013     2014     2015          2016     2017     2018     2019     2020     2021     2022
Supply

1-34       75.00%    75.20%   75.40%   75.60%   75.80%        76.00%   76.20%   76.40%   76.60%   76.80%   77.00%   77.20%


35-83      75.00%    75.20%   75.40%   75.60%   75.80%        76.00%   76.20%   76.40%   76.60%   76.80%   77.00%   77.20%


84+        75.00%    75.20%   75.40%   75.60%   75.80%        76.00%   76.20%   76.40%   76.60%   76.80%   77.00%   77.20%



  These percentages listed are discounts off of reported Average Wholesale Prices (“AWP” or

  “AWPs”), an industry benchmark price.            In other words, for example, in 2011, Caremark

  guaranteed Aetna that Aetna would pay no more in the aggregate than 25% of AWP (the flip side

  of 75% off AWP) for qualifying generic prescriptions.

         97.        In addition, the contract sets forth a separate administrative fee to be paid to the

  Caremark defendants for each paid claim arising from a covered drug dispensed by a retail

  pharmacy to members under Aetna Part D plans. This fee is in the range of $1.00 per claim.

         98.        Although there is some question as to whether Aetna’s contract with the Caremark

  defendants required the Caremark entities to negotiate the best prices they can obtain from a

  pharmacy, or whether the Caremark defendants must actually pass on all discounts they obtain to

  Aetna (versus merely having agreed to meet certain guaranteed discount amounts and then being

  permitted to retain any additional savings they could accrue) the Caremark defendants were clearly

  required to report the actual pass-through or negotiated prices with pharmacies to Aetna for

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purposes of reporting to CMS and for purposes of charging Part D beneficiaries for their share of

drug payments. The CMS negotiated price regulations are very explicit in providing that even if

PBMs continue to have lock-in price contracts with Part D Sponsors, the actual negotiated, pass-

through prices to the pharmacy must be reported to CMS. As described in detail below, the

Caremark defendants knowingly failed to report true negotiated prices.

      99.      The Caremark defendants adjusted the MAC prices they set for Aetna’s Part D

business so that the drug prices for Aetna Part D beneficiaries precisely met, but did not exceed,

the retail discount guarantees in the contract between Aetna and Caremark. In other words, the

Caremark defendants carefully managed the MAC prices so as to hit the minimum aggregate

discount it had guaranteed Aetna, but not to allow Aetna to get the benefit of any lower prices.

The arbitrary increases in MAC prices made by the Caremark defendants throughout the year show

that they are not reporting true negotiated prices since it is extremely unlikely that the actual prices

the Caremark defendants were paying the pharmacies would have increased over time. Market

forces in the generic drug industry invariably push generic prices down over time, barring unusual

circumstances such as manufacturing issues or ingredient shortages.

     100.      In September, 2012, the Caremark defendants notified Aetna of an increase in the

MAC prices of 229 generic drugs. These drugs represented 59% of the utilization by Aetna’s

Part D beneficiaries. On average, the increase was 13% for a 30-day supply.

     101.      Relator did an investigation at that time and discovered that the MAC prices the

Caremark defendants had been charging, as well as those they proposed to charge through its new

MAC list, were significantly higher than prices being charged by other Part D Plan Sponsors to

their beneficiaries for the same drugs. For example, Aetna competitors had prices for lisinoprol 10

mg tablets that ranged from $1.54 to $3.02, but Aetna’s price was $4.69.



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     102.       In a November 1, 2012 email regarding the changes to Aetna’s Medicare MAC

prices, Elana Kinney, Director of Industry Analysis at CVS Caremark, explained that CVS

Caremark’s proposed Medicare MACs were higher than the commercial MACs because the

Medicare MAC prices “were established with consideration to the overall GER targets for each

block of business.” These GER targets are the guaranteed discount percentages discussed in

paragraph 96.

     103.       As a result of concerns raised by Relator within Aetna, Relator’s team did a

thorough comparison of the prices for generic drugs that Caremark had allegedly negotiated for

Aetna and the prices beneficiaries of Aetna’s competitors were paying. Aetna determined that

Aetna’s prices were as much as 25% to 40% higher than its competitors’ prices, or far less

competitive than Aetna’s size would seem to dictate.

     104.       In advance of a scheduled telephonic meeting on February 11, 2013, Aetna brought

its findings about the drug prices to the attention of the Caremark defendants. Aetna personnel

who attended this meeting included Terri Swanson, Head of Medicare Part D, Relator Behnke,

Brian Kost, Head of Pharmacy Finance; Howard Crowley, Head Pharmacy Customer Relations

and Renwick Elder, Vice President Pharmacy. Employees of the Caremark defendants who

attended included James Margiotti, Senior Vice President, Aetna Strategic Business Unit, who is

the main Caremark contact with Aetna; Allison Brown, Senior Vice President Underwriting and

Actuarial; Brian Januzik, Vice President Actuarial; John Lavin, Senior Vice President Provider

Networks; and Beth Paul, Area Vice President for Client Relationship Management.

     105.       At that meeting and again at a telephonic meeting on February 14, 2013, the

Caremark defendants reported that they had basically recreated Aetna’s study and they verified

that Aetna’s analysis of the prices was correct.



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     106.      Ms. Behnke then asked if the Caremark defendants could use this information to

negotiate lower pricing with pharmacies or if Caremark had already negotiated discounts similar

to what Aetna’s competitors had negotiated but were not passing them through to Aetna. In a

virtual admission of liability under the Medicare statute and Part D regulations, Allison Brown

responded that the Caremark defendants had negotiated lower prices on Aetna’s behalf but it was

not required under the contract to provide those prices to Aetna. As was clearly understood by

all parties, however, the prices provided to Aetna were also the prices that Aetna reported to CMS

as the negotiated prices.

     107.      At the February 11 telephonic meeting, CVS Caremark’s Allison Brown referred

to a "see-saw” effect with CVS Caremark contracts, such that if the Caremark defendants passed

better pricing onto Medicare, it would require a concession from CVS Caremark, rather than a

concession from the retail pharmacies. The Caremark defendants also stated to the meeting

attendees that improving or increasing the discounts Aetna received would adversely impact the

Caremark defendants’ earnings due to the Caremark defendants retail contracting methodology.

     108.      This same concept of lower prices that were not being provided to Aetna was

referred to a number of times during on-going discussions between Aetna and the Caremark

defendants about performing a market check of the drug prices.            In a document called

Aetna/Caremark CVS Market Check – Briefing Document, prepared which Howard Crowley,

Aetna Pharmacy Manager, circulated internally on February 25, 2013, it was noted that the

Caremark defendants had “indicated that improving Aetna’s Medicare Discounts relative to the

current contracted rates will have a direct adverse impact of [sic] CVS Caremark’s earnings due

to their retail network contracting methodologies.”




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     109.      As noted in a March 5, 2013 email written by Relator to the Aetna Medicare team,

the Caremark defendants told Aetna “they manage to aggregate discounts that span their Medicare

and Commercial clients”.

     110.      In a March 13, 2013 email written by Relator Behnke, which stated that it reflected

comments by Aetna’s Terri Swanson, Head of Medicare Part D, Behnke wrote: “CVSCM

indicated on 2/11 that our competitive analysis would not be helpful in negotiating better rates

with pharmacies – but that CVSCM already has secured better rates than they pass along to us.

CVSCM indicated that they manage to an aggregate guarantee across lines of business, and thereby

passing better rates though [sic] to Aetna would cost CVSCM money. This approach conflicts

with the Federal Regulations definition of Pass Through (42 C.F.R. § Sec. 423.308).

     111.      If the Caremark defendants was accurately reporting the actual prices that were

being paid to the pharmacies, however, a change that was achieved in the discount Aetna received

would not impact the Caremark defendants’ earnings. Rather, if Caremark could have increased

Aetna’s discount, it would have come from having negotiated lower prices with the pharmacies,

which should not have had any impact on the Caremark defendants’ bottom line.

     112.      Although the Caremark defendants and Aetna could have negotiated a contract that

permitted the Caremark defendants to charge Aetna a different price (lock-in prices) rather than

the pass-through price, in fact the prices the Caremark defendants charged Aetna and the price the

Caremark defendants reported for submission to CMS were the same. Accordingly, as stated

above, any increase in Aetna’s discounts would have only been achievable by garnering greater

discounts from the pharmacies, and should not have impacted the Caremark defendant’s bottom

line since the prices were merely pass-throughs. Caremark’s profit for the PBM services is covered

through administrative fees, not a mark-up on drug prices. Regardless of the contractual



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obligations, moreover, the Caremark defendants were legally required to report those prices to

Aetna for submission to CMS. Instead, the Caremark defendants represented that the prices Aetna

was paying were the same as the prices the Caremark defendants were paying the pharmacies.

When Aetna indicated it intended to perform a market check, in order to decide if it would contract

with a PBM offering lower drug prices, as it is permitted to do under the CaremarkPCS Health

contract, the Caremark negotiators immediately offered to lower Aetna’s drug prices by 100 bps,

starting in September, 2013, and going forward. When Aetna actually commenced the market

check, the Caremark defendants offered to improve Aetna’s drug prices for 2014 by 150 bps.

     113.      These immediate, unilateral offers of lower prices would not have been likely if the

Caremark defendants were truly passing along the actual drug prices that had been negotiated with

the pharmacies since the Caremark defendants should not have had those additional savings “in

pocket” to offer to Aetna.

     114.      During the first half of 2013, the Caremark defendants again announced MAC price

increases. Caremark baldly asserted that this was being done to ensure that the Caremark

defendants would “hit,” but not exceed, the discount guarantee. Hence the “Medicare MAC

Change Notification” to Aetna listed the following justification for every MAC change --

“Adjustment to the MAC list intended to manage and allow CMX [Caremark] to achieve the

contract guarantees.” Since these were price increases, not decreases, the changes could only serve

to ensure that the Caremark defendants did not exceed the price guarantee.

     115.      At this time also, various Aetna personnel commented about the apparent spread

that the Caremark defendants were improperly embedding in their reported prices.            Nancy

Cocozza, Head of Medicare for Legacy/Coventry (a subsidiary of Aetna), in discussions with other

Aetna personnel, questioned why the Caremark defendants were balking about giving Aetna



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control of MACs since Caremark could not earn a spread anyway – “I also explained that the CMS

pass through pricing rules for Medicare preclude CVS Caremark from hiding spread, and because

of that, they should not prohibit us from negotiating retail arrangements or controlling MAC. If

they can’t earn spread, why should it be an issue?”

     116.       Terri Swanson continued to comment on the “hidden spread” inherent in the generic

discount rate guarantee, in an email dated July 28, 2013: “look at how much CVS CM is making

today on our arrangement – including the hidden spread inherent in the capped generic discount

rate guarantee.” In emails discussing the possibility of different timing of the announced MAC

price increases, Swanson also matter-of-factly stated that CVS is “managing to the guarantee” so

it shouldn’t care what the slope of the GER discount looks like over the course of the year.

     117.       In negotiations for a new contract following the market check, the Caremark

defendants offered a risk share provision as follows: If Caremark acquisition costs accelerated

faster than the Part D discount guarantees in the agreement, Caremark would reset the guarantee

so that Aetna would receive 75% of the improvement. This, too, indicates that Caremark was

operating the PBM so as to make a spread on the difference between the price Caremark paid the

pharmacies and the price Aetna was charged for the drugs because otherwise Aetna would receive

100% of the improvement.

     118.       In response to this proposal, Relator Behnke advised the Caremark defendants that

the 25% Caremark retained in this type of split would create an administrative cost that would

have to be reported to CMS. Tellingly, Caremark then stated it would no longer offer the split it

had proposed.




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         119.     The contract between Aetna and the Caremark defendants also guarantees Aetna

  confidential lower prices for the identical generic drugs if they are dispensed to Aetna large

  commercial non-Part D retail plans with lock in pricing:

         MAC and Non-MAC Combined Retail Discount Guarantees for Qualifying Generic Prescriptions at Retail

Days
           2011    2012     2013     2014     2015          2016     2017     2018     2019     2020     2021     2022
Supply

1-34       N/A     75.20%   75.40%   75.60%   75.80%        76.00%   76.20%   76.40%   76.60%   76.80%   77.00%   77.20%


35-83      N/A     75.20%   75.40%   75.60%   75.80%        76.00%   76.20%   76.40%   76.60%   76.80%   77.00%   77.20%


84+        N/A     75.20%   75.40%   75.60%   75.80%        76.00%   76.20%   76.40%   76.60%   76.80%   77.00%   77.20%



  Although the discounts look quite comparable to those for the Medicare Part D business, there is

  a significant difference on the commercial side. Under the contract, “for the avoidance of any

  doubt no Administrative Fees shall be payable with respect to Claims subject to Commercial Retail

  Large Account Lock-In Pricing.” Rather the administrative fee is part of the amount Aetna pays

  for the drug pursuant to the discount guarantee.

           Since the Caremark defendants were clearly not providing their PBM services for free on

  the commercial side, it is apparent that the Caremark defendants had negotiated lower drug prices

  for Aetna’s large retail commercial plans or were charging Aetna lower drug prices for the large

  commercial plans. Since Aetna is actually paying Caremark slightly less for drugs on the

  commercial side (getting a 75.20% discount off AWP, or paying 24.8% instead of 25%), and Aetna

  is not paying the $1/scrip administrative fee, it is obvious that the Caremark defendants are paying

  the pharmacies less than the amount that Aetna is paying Caremark, because otherwise the

  Caremark defendants would not be making any money on their services.

         120.     For each of the years 2011-2013, the reported Medicare Part D prices received by

  Aetna from the Caremark defendants matched the contract guarantee exactly. This result would

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only be expected from a lock-in contract. It would not occur if true pass-through prices were being

reported.

     121.         The information set forth in each of the paragraphs 92 to 120 above demonstrates

that the Caremark defendants are earning a “spread” or the difference between what Caremark

pays pharmacies in the Aetna network and what the Caremark defendants report to Aetna to report

to CMS as the negotiated price for drugs for Part D beneficiaries, contrary to the Medicare Part D

regulations.

     122.      On information and belief, the Caremark defendants had an agreement with the

pharmacies in the Aetna network that resulted in the actual price paid for the Part D prescription

being the average of the commercial and the Part D price for the same drug. In other words, the

Caremark defendants negotiated a swapping arrangement whereby the pharmacies received a

higher payment for Part D prescriptions in exchange for accepting lower payments for commercial

contracts. In addition, or alternatively, on information and belief, the Caremark defendants failed

to report certain post-point-of-sale adjustments, fees or payments they received that lowered the

drug cost actually paid.

       B.      Additional Evidence That the Caremark Defendants are Not Reporting True
               Pass-Through Prices to Aetna for Reporting to CMS

     123.      At the time of filing, CVS Caremark is the largest purchaser of drugs in the country.

Indeed, CVS Caremark claimed to provide Aetna with “industry leading pharmacy benefit

managing services” and stated that Caremark is “unmatched in terms of the . . . low total cost” it

delivers including negotiated rates for generic drugs. Given its market share, as well as the size of

the Aetna Part D plans, there is no reason CVS Caremark and the Caremark defendants should not

be able to negotiate for Aetna the lower drug prices reflected in the prices that Aetna’s competitors

were reporting.


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     124.      Additionally, the prices Part D Sponsors pay for drugs usually vary by pharmacy

chain or from geographic region to region, reflecting regional variations in costs and common

price differentials between large national chains as compared to small, local pharmacies.

Inexplicably, the discounts from AWP that the Caremark defendants say they have negotiated with

pharmacy chains for Aetna’s Part D beneficiaries do not vary at all by geographic region or

pharmacy chain. For example:

                                                     OHIO
                                 CVS         Rite-Aid        Target        Walgreens      Walmart
            Wellcare Health        81.7            83.2          83.8            83.5         85.0
            Classics Plan
            RCGM Plus               85.4             82.6          82.6            85.9          74.6
            Aetna                   80.8             80.8          80.8            80.8          80.8

                                                NEW YORK
                                 CVS         Rite-Aid        Target        Walgreens      Walmart
            Wellcare Health        81.7            83.2          83.9            83.7         85.0
            Classics Plan
            RCGM Plus               85.4             82.6          82.6            85.4          74.6
            Aetna                   80.7             80.8          80.8            80.8          80.8

                                              NEW JERSEY
                                 CVS         Rite-Aid        Target        Walgreens      Walmart
            Wellcare Health        81.7            83.2          83.7            83.7         85.0
            Classics Plan
            RCGM Plus               85.4             82.6          82.6            85.5          74.6
            Aetna                   80.8             80.8          80.8            80.8          80.8


       Thus the prices Aetna’s Part D plans pay for drugs through the Caremark defendants PBM

do not vary based on the size of the pharmacy chain, suggesting that those prices are not the actual

prices that the Caremark defendants have negotiated with the pharmacies. These prices are

consistent with lock-in prices, not the pass through prices the Caremark defendants were supposed

to provide.

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       C.      Caremark’s False Certification to Aetna of Negotiated Prices

     125.      Aetna, in reliance on information received from, reviewed by and approved by the

Caremark defendants, reported the drug cost data and negotiated prices it received from the

Caremark defendants on each PDE submitted for its Part D plan beneficiaries from January 1, 2011

through December 31, 2014. Aetna also relied on a certification it received from CaremarkPCS

Health and on information it received from the Caremark defendants for DIR reports that did not

reflect network management fees or other price concessions received by the Caremark defendants.

Accordingly, as a result of the Caremark defendants’ actions, the price concessions or network

management fees were not factored into the DIR reconciliation reports.

     126.      CMS used the negotiated prices and drug cost data submitted on behalf of Aetna to

reconcile payments made or due to Aetna for drugs dispensed to Aetna beneficiaries in 2011, 2012,

2013 and 2014.

     127.      As a result of this reconciliation, Aetna received payments from CMS in the years

2012 and 2013.

     128.      Had the Caremark defendants provided accurate, non-fraudulent negotiated prices

to be reported to CMS, the amount of these payments from CMS would have been lower by an

amount estimated to be $25 million in 2012 and $50 million in 2013.

       D.      The Caremark Defendants Report False Negotiated Prices for their
               Affiliated Part D Plan, Silverscript

     129.      A Caremark subsidiary is the PBM for SilverScript. This PBM or the Caremark

defendants negotiate with pharmacies the drug prices SilverScript beneficiaries pay. At the time

of filing, the prices paid for drugs for SilverScript beneficiaries are 25% higher than those reported

by competing PDPs. These prices are essentially the same or slightly higher than the prices

reported for Aetna. These prices are consistent with lock-in prices, and a hidden spread, not the


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pass through prices the Caremark Defendants were supposed to provide. Further, the discounts

from AWP that the Caremark defendants say they have negotiated with pharmacy chains for

Silverscript’s Part D beneficiaries do not vary at all by geographic region or pharmacy chain

suggesting that those prices are not the actual prices that the Caremark defendants have negotiated

with the pharmacies.

     130.      Upon information and belief, the Caremark defendants have negotiated lower

prices for drugs with the pharmacies in the SilverScript network than those it reported or caused

to be reported to CMS on PDEs submitted on behalf of or by SilverScript.

     131.      The prices reported by the Caremark defendants and/or SilverScript were not the

amount actually paid. On information and belief, the Caremark defendants had an agreement with

the pharmacies in the SilverScript network that resulted in the actual price paid for the generic Part

D prescription drugs being the average of the commercial and the Part D price for the same drug.

In other words, the Caremark defendants negotiated a swapping arrangement whereby the

pharmacies received a higher payment for Part D prescriptions in exchange for accepting lower

payments for commercial contracts.

     132.      Upon information and belief, the Caremark defendants and SilverScript failed to

report certain post-point-of-sale adjustments, fees or payments received by Caremark that lowered

the drug cost actually paid.

     133.      Upon information and belief, the Caremark defendants and SilverScript do not

accurately report drug costs and drug cost data on SilverScript PDEs. As a result, the Federal

Government’s payments to SilverScript under Part D, including those for low income subsidies

for SilverScript beneficiaries, have been increased. Relator estimates that the Caremark defendants




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causing Silverscript’s to report fraudulent negotiated prices resulted in an overcharge to the

government of $215 million in 2012 and $310 million in 2013.



     134.     On information and belief, the Caremark defendants are negotiating an aggregate

price guarantee for SilverScript with each pharmacy chain in its network. In other words, each

chain agrees to accept in payment a percentage off of AWP per generic drug, measured across the

commercial plans and Part D plans for which the Caremark defendants are the PBM.

     135.     SilverScript and the Caremark defendants have made explicit certifications of the

accuracy and completeness of PDE data since 2006. They continue to make these certifications

on an ongoing basis to the Government.

     136.     SilverScript and the Caremark defendants have provided or caused to be provided

to the government certifications of data accuracy, completeness and truthfulness and the

acknowledgments that the claims data will be used for the purpose of obtaining federal

reimbursement required by 42 C.F.R. § 423.505(k)(3) that are false and fraudulent.

     137.     Relator estimates that, as a result of the activities outlined in paragraphs 92 to 136,

the Caremark defendants have hidden approximately $500 million of administrative expense in

drug cost in 2012, approximately $900 million in 2013 and will hide$1.5 billion of administrative

expense in drug cost in 2014.

       E.     The Caremark Defendants Fraudulently Concealed and Reduced the
              Amount of Money Owed to CMS Through the Year-End Reconciliation
              Process

     138.     In addition to causing the Government to overpay, as discussed above, the conduct

described also or alternatively damaged the Government by causing it to receive less in year-end

reconciliation payments from Part D Sponsors. That is, the Caremark Defendants caused the Part

D Sponsors to report inaccurate prices through PDEs and DIR submissions. The false PDEs and
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DIR submissions skewed the year-end reconciliation process, as described below in more detail,

causing the Part D Sponsors either to fail to pay back money owed to the Government or collect

more than they were entitled to collect.

     139.      This year-end reconciliation process imposes an automatic, affirmative obligation

to pay back money to the Government if it is determined based on the PDEs and DIR submissions

that the Government paid too much through its monthly prospective payments during the year, that

is, that the bid estimate of drug costs turned out to be higher than the actually paid drug costs.

Whether money is owed to the Government or paid back to the Part D Sponsor is a matter of

whether the monthly prospective payments based on the bid exceeded or failed to meet the actually

paid drug costs that are calculated at year end.

     140.      By way of background, a Part D Plan sponsor submits an annual bid to CMS,

including a per member per month (“PMPM”) cost estimate by the Plan to provide Part D benefits

to a Medicare beneficiary in the applicable geographic area.

     141.      As described above (e.g., paragraphs 36-37, 51), a Part D sponsor receives

prospective monthly payments from CMS through Direct, Reinsurance and Low Income Copay

subsidies (“LICS”) based on the Plan’s standardized bid, risk-adjusted for health status and other

factors. 42 C.F.R. §§ 423.315, 423.329.

     142.      Also as described above (paragraph 69), there is a year-end reconciliation process

to determine whether CMS owes the Part D Sponsor additional payments, or the Part D Sponsor

has to pay money back. After receiving the final, required PDE and DIR submissions, CMS

reconciles payments received by a Part D Plan Sponsor to determine whether additional funds are

due to, or recoverable from, the Part D Plan Sponsor. 42 C.F.R. § 423.343(c), (d) (describing how




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CMS either makes payments to Plan sponsors or recovers payments from them); 42 C.F.R.

§ 423.352 (reconciliation done after receipt of required PDE and DIR submissions).

     143.      Specifically, following the end of a year, the prospective Reinsurance and LICS

payments are reconciled to match the estimated drug costs in the bid to the actually paid drug costs.

This is done using reported data that was submitted through PDE and DIR reporting. If the

estimated Reinsurance and LICS payments made throughout the year exceeded the actual costs,

the Part D Sponsor is obligated to pay back that amount to CMS.

     144.      In addition, at year end and as a final step in the reconciliation process, CMS applies

a fixed, statutory formula for risk-sharing with respect to the prospectively-paid Direct Subsidy

amounts. That is, the Direct Subsidy is subject to a Risk-Sharing arrangement capping the profits

or losses of the Plan. 42 C.F.R. § 423.336, § 423.343. If a Plan Sponsor’s actually paid drug costs

exceed the estimated costs that were incorporated into the bid by more than 5%, the Plan will

recoup some of those losses through a pre-set, statutory risk-sharing arrangement with CMS.

Conversely, if the Plan Sponsor’s estimated costs exceed its actually paid drug costs by more than

5%, the Sponsor is obligated to pay back to CMS some portion of the estimated payments the Plan

had received on a prospective basis from CMS. The calculation of the Risk-Share outcome is

based on information submitted through both PDEs and DIR reporting.

     145.      Thus, the year-end reconciliation process compares the actually paid drug costs to

the bid estimate (that drives the monthly prospective payments throughout the year). Depending

on whether the actually paid drug costs are less than, or greater than, the bid estimate determines

the flow of funds that results from the reconciliation process, that is, whether the Part D Sponsor

is eligible for additional payments from CMS at year-end or owes money back to CMS. Either




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way, these are fixed payments or obligations, automatically and mathematically calculated based

on the variance of the bid from actually paid drug costs.

     146.      Because both Aetna and SilverScript, as Plan sponsors, submitted separate bids for

hundreds of plans every year, some Plans received overpayments and owed money back to the

Government as a result of the reconciliation process and other Plans had been underpaid and

received payments from the Government. In both cases, the alleged fraud impacted the amounts

– of either the repayments owed or the amounts wrongly received. Where the Plan had been

overpaid, and owed money back to the Government, the false PDEs and DIR reports were material

to an obligation to pay money to the Government or to conceal, avoid or decrease an obligation to

pay money to the Government, in violation of 31 U.S.C. § 3729(a)(1)(G).

     147.      The bid estimate process contemplates that roughly half of plans will owe money

back to CMS and roughly half of plans will receive additional payments. Based on her substantial

involvement every year in preparing bid estimates for Aetna’s Part D plans and follow-up to see

whether plans received money back or owed money at the end of the year, Relator is aware that in

every year between 2011 and 2015 some, and most likely a substantial number of, Aetna plans

owed money back to CMS following the year end reconciliation process. Had accurate drug price

information been submitted to CMS, the amounts owed would have been higher.

     148.      Similarly, for SilverScript, it is virtually certain that some Plans would owe money

back to CMS for some years, and some Plans would have additional money paid to them. For

example, there were substantial amounts owed back to CMS from all SilverScript plans, in the

aggregate, for each of the years 2011 through 2013, for risk-share reconciliations alone.

http://medpac.gov/docs/default-source/reports/chapter-6-sharing-risk-in-medicare-part-d-june-

2015-report-.pdf?sfvrsn=0. These aggregate overpayments could only exist if at least some plans



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had received overpayments and thus owed money back. Had accurate prices been submitted to

CMS, the amounts owed would have been higher.

     149.      When a Plan Sponsors’ reported drug prices are fraudulently inflated, the costs

appear to be higher than they actually were (or the “actually paid” drug costs are inflated). If the

Plan’s estimated drug costs in the bid turn out to have been high, such that it was going to owe

money back to CMS at year-end, the inflated reported prices would reduce the amount that the

Plan would owe back to CMS. These are reverse false claims, where the Plan or the PBM has

fraudulently reduced the amount of money that the Plan owes back to the government.

     150.      If the estimated drug costs in the bid had been low as compared to actually paid

drug costs, then the inflated reported prices would increase the amount that the Plan will be able

to recover from CMS at year-end.

     151.      Regardless of the accuracy of the bid estimate of drug costs, reporting fraudulently

inflated drug prices impacts the reconciliation and risk-share payments at year end, always to the

benefit of the Plan and at the expense of CMS. This occurs whether the fraudulent reporting was

at the PDE or DIR stage. Knowing falsity at either stage is actionable under the FCA.

       F.      Failure to Charge the Negotiated Price Adversely Impacts the Beneficiary
               and Ultimately Causes the Government to Pay More

     152.      The negotiated price is the amount that is supposed to be charged to the Part D plan

beneficiary for drugs. The beneficiary does not pay for any administrative cost.

     153.      As CMS explained when first considering the change to negotiated pricing:

            [We are] refining our definitions related to what may be included in the
            drug costs Part D sponsors use as the basis for calculating beneficiary cost
            sharing, reporting drug costs to CMS for the purposes of reinsurance
            reconciliation and risk sharing, as well as submitting bids to CMS.

            Medicare Program: Revisions to the Medicare Advantage and Prescription
            Drug Benefit Programs: Proposed Rule, 73 Fed. Reg. 28556 (May 16,
            2008)

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     154.       As CMS recently explained in discussing whether certain costs should be backed

out of reported (negotiated) prices and instead reflected in aggregate, annual reconciliations

(typically, DIR), the “reporting differential matters because this variation in the treatment of costs

and price concessions affects beneficiary cost sharing, CMS payments to plans, federal reinsurance

and low-income cost-sharing (LICS) subsidies, and manufacturer coverage gap discount

payments. Differential treatment of costs would also be expected to affect plan bids.” Medicare

Program: Contract Year 2015 Policy and Technical Changes to the Medicare Advantage and the

Medicare Prescription Drug Benefit Program, 42 CFR Parts 409, 417, 422, 423 and 424 [CMS-

4159-P], at p 234.

     155.       Further, when price concessions “from pharmacies are reflected in forms other than

the negotiated price, the degree of price concession that the pharmacy has agreed to is no longer

reflected in the negotiated prices available at point of sale or reflected on the Medicare Prescription

Drug Plan Finder (Plan Finder) tool. Thus, the true price of drugs at individual pharmacies is no

longer transparent to the market. Consequently, consumers cannot efficiently minimize both their

costs (cost sharing) and costs to the taxpayers by seeking and finding the lowest-cost

drug/pharmacy combination. Moreover, as the coverage gap closes, there are fewer and fewer

beneficiaries who are exposed to the full cost of drug products, either at the point of sale or as

reflected in Plan Finder estimates. When this occurs, the basis of competition shifts from prices

to cost sharing, and the pricing signals available to the market can be distorted when lower cost

sharing is not aligned with lower prices. Thus, we believe the exclusion of pharmacy price

concessions from the negotiated price thwarts the very price competition that the Congress

intended when it said that private plans would compete with other plans on both premiums and

negotiated prices.,” id., at p. 237.



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      156.     Any reporting of negotiated prices that excludes such costs – especially where those

costs are not even accounted for in the post-sale reconciliation through DIR, as here – creates these

issues on an even greater scale.

      157.     Through their negotiations with pharmacies, the Caremark defendants caused the

pharmacies in its network to fail to charge beneficiaries of the Aetna PDPs the true negotiated

price. Instead, such beneficiaries were charged higher prices. As a result, beneficiaries paid higher

co-pays and deductibles and were pushed earlier into the coverage gap phase (the “donut hole”)

and also the catastrophic phase where the government pays most of the total cost.

      158.     In addition, by failing to reveal the hidden administrative costs related to the Aetna

contract, or the amounts that were actually paid to pharmacies for drugs dispensed to Aetna and

SilverScript beneficiaries, the Caremark defendants caused increases in the low income subsidy

payments and reinsurance subsidy payments made by the government, the very results that

Congress and the regulations intended to prevent. See 74 Federal Register 1494 at 1505.

      159.     Failure to offer a beneficiary the negotiated price of a Part D drug constitutes fraud.

CMS Prescription Drug Benefit Manual, chapter 70.1. 3 (p. 59) (2006 ed).

VI.     OTHER SILVERSCRIPT BENEFITS FROM THE FALSE REPORTING OF
        DRUG PRICES ACTUALLY PAID

      160.     At the time of filing, Aetna and SilverScript were the largest Part D clients of CVS

Caremark’s PBMs. Together they totaled 70% of CVS Caremark’s Medicare beneficiaries.

      161.     CVS Caremark reported in its 10Q filed on October 17, 2013, that as of June 30,

2013, SilverScript had approximately 3.4 million members.

      162.     SilverScript has the largest number of members of any Part D plan in the country

who are eligible for the low-income subsidy whereby the government pays most of the Part D

premium, deductibles and cost sharing. Indeed, 25% of all Part D beneficiaries who qualify for


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the low-income subsidy are SilverScript members, see http://www.cms.gov/Research-Statistics-

Data-and-Systems/Statistics-Trends-and-Reports/MCRAdvPartDEnrolData/LIS-Enrollment-by-

Plan.html

       163.    The Federal Government pays approximately 18% of the drug cost of Medicare

Part D for non-low income beneficiaries. The Federal Government pays 65% of the drug cost of

Medicare Part D for each beneficiary receiving the low-income benefit. For 2013, Medicare

estimated it would pay private plans $1,139 in reimbursements per enrollee and an additional

$2,134 per low-income enrollee. 2012 Annual Report of the Boards of Trustees of the Federal

Hospital Insurance and Federal Supplementary Medical Insurance Trust Funds, April 23, 2012, p.

167, available at www.cms.gov/Research-Statistics-Data-and-Systems/Statistics-Trends-and-

Reports/ReportsTrustFunds/Downloads/TR2012.pdf. Therefore, it benefits Silverscript and also

Caremark if its reported drug prices are high, as the Federal Government will pay 65% of the cost.

       164.    Hiding administrative costs by reporting higher negotiated drug prices enables

SilverScript to lower the premiums in its Part D bids. Amounts included in the reported negotiated

drug prices that are administrative costs should not be included in these bids.

       165.    Hiding administrative costs in the false negotiated drug prices that were reported

allows SilverScript to qualify for auto-enrollment and facilitates auto-enrollment of more low-

income subsidy eligible individuals as the SilverScript premiums do not exceed the low income

subsidy amount, see, 42 C.F.R. 423.34 (d).

VII.     KICKBACKS BY THE CAREMARK DEFENDANTS

       166.    Paragraphs 1 to 165 are incorporated by reference as if fully set forth.

       167.    CVS Caremark is one of the three largest PBMs operators in the United States.

CVS Caremark has one contract (“the commercial contract”) with each pharmacy chain. That

contract covers all the different commercial lines of business CVS Caremark has with that chain
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such as providing prescriptions for commercial plans and workers’ compensation programs. This

contract includes different prices for participation in preferred and contract networks for clients of

CVS Caremark’s PBMs.

     168.      Upon information and belief, CVS Caremark has a separate contract for pharmacies

in its network which participate in Medicare Part D.

     169.      The drug prices the Caremark defendants pay to pharmacies pursuant to

commercial contracts are lower than the prices the Caremark defendants negotiate and pay to

pharmacies for the identical drug under Medicare Part D. This is demonstrated in the Caremark

defendants’ contract with Aetna, where commercial prices are lower and where Aetna is not

charged an administrative fee (the $1 per prescription) referenced in ¶ 97, above).

     170.      This arrangement benefits the Caremark defendants because in commercial

contracts, they keep the difference (“the spread”) between the price Caremark has negotiated with

the pharmacy and the price they charge their PBM customers, particularly under lock-in PBM

agreements. For example, if the commercial customer agrees to pay $10 per prescription of Drug

X, the Caremark defendants negotiate a price of $7 with the pharmacy for the drug and keep the

$3 difference. However, the Caremark defendant tells the commercial customer that the price paid

for the drug was $10. The Caremark defendants can also keep the spread related to their

commercial contracts by manipulation of MACs.

     171.      As set forth in paragraphs 57 to 70, Medicare Part D seeks pass-through pricing and

will not pay this spread as part of the drug cost. On information and belief, the Caremark

defendants therefore negotiate with and agree to pay the pharmacy $10 as the ingredient cost for

the same drug dispensed to a Medicare beneficiary.




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     172.       Because the Part D program is paying more for the same drug, the Caremark

defendants can keep a large administrative fee from their commercial plans. The pharmacy is

satisfied with this arrangement because, on average across all commercial and Part D plans, it is

receiving its desired price for each drug. For example, Chain A wishes to be paid $9, on average

for a particular drug. The Caremark defendants in their role as a PBM allegedly negotiate a $10

point of sale price for the drug when it is dispensed to a Part D beneficiary. The Caremark

defendants also agree to pay the pharmacy $8 for the same drug dispensed under a commercial

drug plan. The Caremark defendants then communicate to the commercial customer (with a lock

in contract), that the price of the drug is $10, but keep the $2 difference ($10-8) as an administrative

fee. On average, the pharmacy has received $9 for the drug.

     173.       On information and belief, the Caremark defendants are negotiating an aggregate

price guarantee with each pharmacy chain in their networks. In other words, each chain agrees to

accept in payment, a percentage off of AWP per generic drug, measured across the commercial

plans and Part D plans for which the Caremark defendant is the PBM.

     174.       On information and belief, the Caremark defendants, directly or indirectly, agree to

accept pharmacy chains into their commercial networks if the pharmacy chain agrees to an

arrangement that charges lower drug prices for commercial plan participants and higher prices for

the same generic drugs dispensed to Part D plan participants.

     175.       In addition to the benefits or increased revenues already described above, to the

extent an Aetna Part D beneficiary or SilverScript beneficiary fills his prescription at a CVS

pharmacy, CVS Caremark benefits further from the inflated reported price, because the CVS

pharmacy will be paid the higher false price reported to CMS.




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VIII. APPLICABLE LAW

       A.      The Federal False Claims Act

     176.      The Federal False Claims Act (“FCA”), 31 U.S.C. §§ 3729-3733, provides, inter

alia, that any person who (1) “knowingly presents, or causes to be presented, a false or fraudulent

claim for payment or approval,” (2) “knowingly makes, uses, or causes to be made or used, a false

record or statement material to a false or fraudulent claim,” is liable to the United States for a civil

monetary penalty plus treble damages; or (3) knowingly makes, uses, or causes to be made or used,

a false record or statement material to an obligation to pay or transmit money or property to the

Government, or knowingly conceals or knowingly and improperly avoids or decreases an

obligation to pay or transmit money or property to the Government. 31 U.S.C. § 3729(a)(1)(A)-

(B) and (G).

     177.      The terms “knowing” and “knowingly” are defined to mean “that a person, with

respect to information (1) has actual knowledge of the information; (2) acts in deliberate ignorance

of the truth or falsity of the information; or (3) acts in reckless disregard of the truth or falsity of

the information.” 31 U.S.C. § 3729(b)(1)(A)(i)-(iii). Proof of specific intent to defraud is not

required. 31 U.S.C. § 3729(b)(1)(B).

     178.      The term “claim” means “any request or demand, whether under a contract or

otherwise, for money or property and whether or not the United States has title to the money or

property, that (1) is presented to an officer, employee, or agent of the United States; (2) is made to

a contractor, grantee, or other recipient, if the money or property is to be spent or used on the

Governments behalf or to advance a Government program or interest, and if the United States

Government (a) provides or has provided any portion of the money or property requested or

demanded; or (b) will reimburse such contractor, grantee, or other recipient for any portion of the

money or property which is requested or demanded ….” 31 U.S.C. § 3729(b)(2)(A)(i)-(ii).

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     179.      The term “material” means “having a natural tendency to influence, or be capable

of influencing, the payment or receipt of money or property.” 31 U.S.C. § 3729(b)(4).

       B.      The Federal Anti-Kickback Statute

     180.      The federal Anti-Kickback Statute (“AKS”), 42 U.S.C. § 1320a-7b(b), arose out of

congressional concern that remuneration provided to those who can influence healthcare decisions

would result in goods and services being provided that are medically unnecessary, of poor quality,

or harmful to a vulnerable patient population. To protect the Medicare and Medicaid programs

from these harms, Congress enacted a prohibition against the payment of kickbacks in any form.

First enacted in 1972, Congress strengthened the statute in 1977 and 1987 to ensure that kickbacks

masquerading as legitimate transactions did not evade its reach. See Social Security Amendments

of 1972, Pub. L. No. 92-603, §§ 242(b) and (c); 42 U.S.C. § 1320a-7b, Medicare-Medicaid

Antifraud and Abuse Amendments, Pub. L. No. 95-142; Medicare and Medicaid Patient and

Program Protection Act of 1987, Pub. L. No. 100-93.

     181.      The AKS prohibits any person or entity from offering, making, soliciting, or

accepting remuneration, in cash or in kind, directly or indirectly, to induce or reward any person

for purchasing, ordering, or recommending or arranging for the purchasing or ordering of

federally-funded medical goods or services:

            whoever knowingly and willfully offers or pays any remuneration
            (including any kickback, bribe, or rebate) directly or indirectly, overtly or
            covertly, in cash or in kind to any person to induce such person—

            (A) to refer an individual to a person for the furnishing or arranging for the
            furnishing of any item or service for which payment may be made in whole
            or in part under a Federal health care program, or

            (B) to purchase, lease, order, or arrange for or recommend purchasing,
            leasing, or ordering any good, facility, service, or item for which payment
            may be made in whole or in part under a Federal health care program, shall
            be guilty of a felony and upon conviction thereof, shall be fined not more
            than $25,000 or imprisoned for not more than five years, or both. 42 U.S.C.

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             § 1320a-7b(b). Violation of the statute also can subject the perpetrator to
             exclusion from participation in federal health care programs and, effective
             August 6, 1997, civil monetary penalties of $50,000 per violation and three
             times the amount of remuneration paid. 42 U.S.C. § 1320a-7(b)(7) and
             42 U.S.C. § 1320a-7a(a)(7).


                                          COUNT I
                                FEDERAL FALSE CLAIMS ACT
                                  31 U.S.C. §§ 3729(A)(1)(A)

     182.       Relator re-alleges and incorporates by reference all of the preceding paragraphs of

this Complaint as if fully set forth herein.

     183.       At all relevant times to this Complaint, Defendants knowingly presented, or caused

to be presented, directly or in directly false and fraudulent claims for or approval to the United

States.

     184.       By virtue of the false or fraudulent claims presented or caused to be presented by

the Defendants, the United States suffered and is entitled to recover treble damages and a civil

penalty for each false claim.

                                           COUNT II
                                FEDERAL FALSE CLAIMS ACT
                                   31 U.S.C. §§ 3729(A)(1)(B)

     185.       Relator re-alleges and incorporates by reference all of the preceding paragraphs of

this Complaint as if fully set forth herein.

     186.       At all times relevant to this Complaint, defendants knowingly made, used, or caused

to be made or used, false records or statements material to false or fraudulent claims to the United

States and false records or statements to get false claims paid.

     187.       By virtue of the false or fraudulent claims presented by the Defendants, the United

States suffered damages and is entitled to recover treble damages and a civil penalty for each false

claim.


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                                        COUNT III
                               FEDERAL FALSE CLAIMS ACT
                                 31 U.S.C. §§ 3729(A)(1)(G)

     188.        Relator re-alleges and incorporates by reference all of the preceding paragraphs of

this Complaint as if fully set forth herein.

     189.        Defendants knowingly concealed or knowingly and improperly avoided or

decreased an obligation to pay or transmit money to the United States in violation of 31 U.S.C. §

3729(a)(1)(G).

                                     PRAYER FOR RELIEF

       WHEREFORE, Relator, on behalf of the United States, demands that judgment be entered

in her favor and against Defendants for the maximum amount of damages and such other relief as

the Court may deem appropriate on each Count. This includes, with respect to the Federal False

Claims Act, three times the amount of damages to the Federal Government plus civil penalties of

no more than Eleven Thousand Dollars ($11,000.00) and no less than Five Thousand Five Hundred

Dollars ($5,500.00) for each false claim, any other recoveries or relief provided for under the

Federal False Claims Act, and such other relief as the Court deems just and appropriate.

       Further, Relator requests that she receive the maximum amount permitted by law of the

proceeds of this action or settlement of this action collected by the United States, plus reasonable

expenses necessarily incurred, and reasonable attorneys’ fees and costs. Relator requests that her

award be based upon the total value recovered, both tangible and intangible, including any amounts

received from individuals or entities not parties to this action.

 Dated: November 10, 2020                           /s/ Susan Schneider Thomas
                                                    Susan Schneider Thomas

                                                    BERGER MONTAGUE PC
                                                    Susan Schneider Thomas (Pa. Bar No. 32799)
                                                    Joy Clairmont (Pa. Bar No. 82775)
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